UNITED STATES DISTRICT COURT CO YMS Document 6 Filed 03/17/23 Page 1 of 1 PagelD #: 30
EASTERN DISTRICT OF NEW YORK

ELBERT DAWKINS ON BEHALF OF HIMSELF AND ALL OTHERS SIMILARLY N
COURT DATE & TIME: AT

SUATED INDEX #: 1:23-CV-01554-NGG-VMS
DATE FILED: 03/05/2023
Plainti Job #: 575187
°s io Client File#

AVI & CO NY CORP STEIN SAKS, PLLC
ONE UNIVERSITY PLAZA
SUITE 620
Defendant HACKENSACK, NJ 07601

CLIENT’S FILE NO.: AFFIDAVIT OF SERVICE UPON A CORPORATION
STATE OF NEW YORK: COUNTY OF NASSAU ss:

 

], ERIC RIVERA, being duly sworn deposes and says deponent is not a party to this action and is over the
age of eighteen years and resides in the State of New York.

That on 03/16/2023 at 2:23 PM at 15 W 47TH STREET STE 200, NEW YORK, NY 10036, deponent served
the within SUMMONS IN A CIVIL ACTION, CLASS ACTION COMPLAINT AND DEMAND FOR
JURY TRIAL

by personally delivering to and leaving with STEPHANIE "DOE" for AVI & CO NY CORP, a true copy
thereof, and that deponent knew the person so served to be the AUTHORIZED PARTY /Managing Agent and

stated (s)he was authorized to accept legal papers for the corporation.

Said documents were conformed with index number and date of filing endorsed thereon.

A description of the person served on behalf of the defendant is as follows:

Approx Age: 22 - 35 Yrs., Approx Weight: 100-130 Lbs., Approx Height: 5' 4" - 5' 8", Sex: Female,
Approx Skin: White, Approx Hair: Black

REFUSED TO GIVE LAST NAME.

 

Sworn to before me on 3fi9/ ? Pe Y
EUGENE SOKOLOV #01S806434174 “
Notary Public State of New York a

RICHMOND County, Commission Expires 05/3 by ERICRIVERA

SUPREME JUDICIAL SERVICES, INC. 371 MERRICK ROAD ~ ROCKVILLE CENTRE, N.Y. 11570 Lic# I 092373
